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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                      CASE NO.

  THE NORTH FACE APPAREL CORP.,
  TBL LICENSING LLC, and
  JANSPORT APPAREL CORP.,
              Plaintiffs,
  vs.
  THENORTHFACEBARATO.ES; 21STAESTHETICS.COM; 34IIMG.COM;
  ADVANCINGBIO.ORG; AFTERPORNENDS2.COM; AGENT-TICKET.COM;
  AGRITURISMORVILE.COM; AJELMASNOU.ES; AKAPLANNING.CO.UK;
  ALCYEAGLES.COM; ALPHAPACKUK.CO.UK;
  AMELIORETOITCONFORT.FR; APPART-AUTO.COM;
  ASOCIACIONGASTROBLOGGERS.ES; AUTOREFINE.CO.UK;
  AYSO1091.COM; BACKACOUNTY.COM; BANLIEUESPATRIOTES.FR;
  BELLTREEMAC.COM; BESTMARKETINGCOPY.COM;
  BEYONDBLISSMASSAGE.COM; BLOGEALE.COM; BLUE-HOUSE.ES;
  BOBSZTORC.COM; BWHIMSYGIFTS.COM; CAPTAINMIKEBEACH.COM;
  CELLARWINEANDBEER.COM; CIBYA.ES; CLOTHAS.XYZ;
  CLOTHDG.XYZ; CLOTHDK.XYZ; CLOTHOLIP.XYZ; CLOTHOP.XYZ;
  CLOTHRTI.XYZ; CLOTHSRE.XYZ; CLOTHUGH.XYZ; CLOTHVCD.CLUB;
  CLOTHWRE.XYZ; CLOTHYIW.XYZ; CODEDROMANCE.CO;
  DALLASCOINCLUB.ORG; DENTESDENTAL.CO.UK; DIXONNACEY.COM;
  DOZESTADIUM.COM; DRCOMPLETE.CO.UK; EL10DEVEEDOR.ES;
  ENCOUNTER-STEUBENVILLE.COM; ENERGISEANDENGAGE.CO.UK;
  ENVISIONESCALANTE.ORG; EUGENETOLERIE.FR;
  FARMSANCTUARYKIDZCLUB.COM; FGCKKAKAMEGATOWN.ORG;
  FIERYKICKS.COM; FLOWER-SPACE.COM; FTCOLLINSCAREERS.COM;
  GEARRURAL.COM; GLOBALOSERVICES.CO.UK; GUITARINFO.ES;
  HARTBOY.CO.UK; HAZZCLOTHING.COM; HOMEBOUNDHAIR.COM;
  HOMECLIPARTANIMALDEER.COM; IMOS-TM.COM; INTERVIP.ES;
  INVICTAFX.COM; ISALLINNER.COM;
  JANLONGCOMMUNICATIONS.COM; JGPERSONNEL.CO.UK;
  KABATOUTLET.COM; KAMIKAZEKITTEN.CO.UK; KHUTTAR-
  RESTAURANT.CO.UK; KYRAKIRKWOOD.COM;
  LAQUINTACARLSBAD.COM; LAVIDAQUEAMARON.COM;
  LESBELLESCOPINES.FR; LINKIEKLE.COM;
  LONGMEADOWSCOTTAGE.CO.UK;
  LOSEWEIGHTFORSCOTLAND.CO.UK; M2GLEADERSHIPBIZ.COM;
  MASONSYAMAHA.COM; MEDIASSOCIATION.COM; MER-KUNIC.COM;
  MIALOFGRENS.COM; MIRAIE-INSURANCE.COM;
  MOLOSKYDENTAL.COM; MONTACARGAS-ELCHE.ES;
  MYDECODAY.COM; MYNEWLAW.COM; NARUMONINDUSTRY.COM;
  NFASDA.CLUB; NFASDSA.CLUB; NFDOEM.COM; NFEST.CLUB;


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  NFETEAF.TOP; NFFANB.CLUB; NFFANBB.CLUB; NFIICQ.CLUB;
  NFQWQAZ.CLUB; NFVUSM.ONLINE; NFVXCH.ONLINE;
  NFVXCU.ONLINE; NORFOLKBROADSPHOTOS.COM; O2FP-
  ILEDEFRANCE.FR; ONTHESPOTOIL.COM; OSCARBOLES.COM;
  PARKHURSTLOBSTERS.COM; PHOTO-SCENIX.COM;
  PINNACLEPHARMACYRX.COM; PINNACLEWINETOURS.COM;
  PUEDOCAMBIARELMUNDO.COM; QUINTETTE-SPIRALE.FR;
  RAWDOLPHINS.COM; ROADTOMORALCAPITALISM.COM;
  ROKEWOODSTUD.COM; ROLEOFWOMENINECONOMICLIFE.NET;
  RUTASELECTRICAS.ES; SACSIYAHLATICI.COM; SANPIETROTN.ORG;
  SARD.ES; SHOEMANIATO.TOP; SHULERMEATSWEB.COM;
  SOMENEVERAWAKEN.COM; SOSPCWEB.COM; SWATISPRAYERS.COM;
  TAMPABIZLIST.COM; TATTICAGT.COM; TAXI-CASTEJON-DE-
  NAVARRA.ES; THENORTHFACEMAGAZALARI.COM; THFSALE.SITE;
  THICHCUMUA.COM; UGURKARGO.COM; VEMQUEEUTECONTO.COM;
  VESAKUUSAVA.COM; VYDEMBUTIDOS.ES; WEAREOVER.ES;
  WIGHTSWEETSHACK.CO.UK; WIZANCJUM.COM;
  WOODFORDWINEROOM.CO.UK; 1STOP4TRAVEL.COM;
  2018TIMBERLAND.COM; 2NDCENTURYADHC.COM;
  6INCHTIMBERLAND.COM; A-BOWL.COM; ADAMNCOPELAND.COM;
  ADDITIVE-SO.COM; ALLSNEAKERONLINE.COM;
  APPLIANCESETCJEROME.COM; APPMAKERSLTD.COM; ARACRM.COM;
  BARENDBMX.CO.UK; BICYCLETOURTUSCANY.COM;
  BILLIGATIMBERLANDSKO.COM; BIWATERAEWT.COM; BNRG.CO.UK;
  BOTTESTIMBERLAND.FR; BRANDSPORTSHOESSTORE.COM; BUELL-
  FRANKFURT.COM; CALCADOSTIMBERLAND.COM;
  CAMALTECVALENCIA.ES; CASABELLAVIDACABO.COM;
  CELESTEPEDRI.COM; CHATLIMAR.COM; CHEAPTIMBERLANDBOOTS-
  2013.COM; CHEAPTIMBERLANDSHOES.COM;
  CHESSPUB.CO.UK; CIENCIA-E-CULTURA.COM; COMMANDER-
  REZONING.COM; COURTNEYBROOKEDESIGNS.COM;
  CREATIVEHAIRMAKEUP.COM; DRMUKESHSINGH.COM;
  EASTBRIDGECHORALE.COM; ELAINECOSTAS.COM;
  ENGLISHBROTHERSBEER.COM; ERFENISROOF.NL;
  ERRORINSYNTAX.COM; FORRETODO.COM; FRANCINEGARNIER.COM;
  GALIZAXOGA.ES; GCCHAMPLAIN.COM; GEEKCHICNYC.COM;
  GENERATIONRWANDA.ORG.UK; GIFTS4GOOD.CO.UK;
  GLASSHOUSEAGENCY.COM; GOLDENGRILLENJ.COM;
  GRTIMBERLAND.COM; HAZYMINDSHOP.COM;
  HEADBOARDSOUTLET.COM; HEDGEHOGBOT.CO.UK;
  HOTBRANDSDEPOT.COM; HSFACOUSTICS.COM;
  JANPARISBOOKFEST.COM; JPTIMBERLANDBOOTS.COM;
  JPTIMBERLANDSSALES.COM; JSFLOORSYSTEMS.COM;
  KICKSTIMBERLAND.INFO; KJOPETIMBERLANDSKO.COM;
  KLIKKLIKPIKS.CO.UK; KOUSOS.COM; KPOEALEXANDER.COM;
  LADIVADEBEAUTYCENTER.COM; LAVENDERBLUESPA.COM;


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  LENFODEM2017.ORG; LETTERSWORTH.COM;
  LIBERTYDRONESPHILLY.COM; LITTLESHOPTHEMUSICAL.COM;
  LORENZADEMODAS.COM; LUNCHWITHAPURPOSE.COM; MAC-
  DADDIES.CO.UK; MAGALYH.COM; MAPSKOPARADISE.COM;
  MAYARTPAINTS.COM; MIDLANDTRACTORPULLERS.CO.UK;
  MITSUTOUGE-SANSOU.COM; MONROELIMOS.COM;
  MSGCSPEEDDATING.COM; MYFABRICFRIEND.COM;
  MYTIMBERLANDUK.COM; NARTEXKINDO.COM;
  NEELKAMALFOODS.COM; NEONFITCLUB.COM;
  NIEUWTIMBERLANDSCHOENEN.COM; NOIRTIMBERLANDBOOTS.COM;
  NOTTINGHAMFIXERS.CO.UK; OAKLANDSBEDANDBREAKFAST.CO.UK;
  OFFICIALTIMBERLANDUK.COM; ONYOURDOORSTEP.ORG.UK;
  OTTOPR.CO.UK; OVENTROPMARKET.COM;
  PASCHERTIMBERLAND.COM; PENSAOSAOJORGE.COM;
  PERFECTSALEWA.COM; PHII.CO.UK; PHYSIQUEDEPOT.COM;
  PICKTIMBERLANDBOOTUK.COM; PLANETAMODELISMO.COM;
  PLAYITAGAINSCOTT.COM; PNLYCOACHING.ES; POP-PIE.CO.UK;
  POSTMUSRACING.NL; PREMEDNETWORK.COM; PRKHOMES.COM;
  RAPIDRESPONSEPESTCONTROL.CO.UK; REALTOUCH-SHOP.FR;
  REDTIMBERLANDBOOTS.COM;
  ROBERTSBRIDGESUMMEREVENT.CO.UK; ROLL-TOPTIMBERLAND.COM;
  SAINTPAULS-UMC.COM; SALETIMBERLANDJAPAN.COM;
  SCHLOSSPARK-PUTBUS.COM; SCULPTURESUTTON.COM;
  SELLTIMBERLANDBOOTS.COM; SERRURIERSLERAINCY.COM;
  SHANTITERAPIAS.COM; SHAWNEEHEARTLANDAL.COM;
  SHOPHALLOWEENADVENTURE.COM; SHOPSTIMBERLANDJP.COM;
  SHOPTIMBERLANDBOOTS.COM; STEAKANDBOURBON.COM; SUGIZAKI-
  INC.COM; SURVIVALSTRIKER.COM; TBLBOOTS.US; TCTASTES.COM;
  THEBCC.CO.UK; THEGO2GEEKS.COM; THEINDUSTRIALAREA.COM;
  TIMBERLAND1973.COM; TIMBERLAND6BOOTS.COM;
  TIMBERLANDABC.COM; TIMBERLANDAUSTRALIAONLINESHOP.COM;
  TIMBERLANDBOOT.CO; TIMBERLANDBOOT4YOU.COM;
  TIMBERLANDBOOTOL.US; TIMBERLANDBOOTS.NAME;
  TIMBERLANDBOOTS4U.COM; TIMBERLANDBOOTSBEST.COM;
  TIMBERLANDBOOTSCLASSIC.COM; TIMBERLANDBOOTSCUSTOM.COM;
  TIMBERLANDBOOTSK.COM; TIMBERLANDBOOTSONLINECHEAP.COM;
  TIMBERLANDBOOTSSALEOUTLET.COM;
  TIMBERLANDBOOTSUSONLINE.COM;
  TIMBERLANDBOOTSUSSHOP.COM;
  TIMBERLANDCHEAPESTOUTLET.COM;
  TIMBERLANDCIZMETURKIYE.COM;
  TIMBERLANDCLASSICBOATSHOES.COM;
  TIMBERLANDCLEARANCEBESTS.COM; TIMBERLANDDUKKANI.COM;
  TIMBERLANDEARTHKEEPER.FR; TIMBERLANDESEN.COM;
  TIMBERLANDGREECE.COM; TIMBERLANDITALIA.SITE;
  TIMBERLANDLOJASPORTUGAL.COM; TIMBERLANDMENSHOES.COM;


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  TIMBERLANDNEWZEALAND.COM; TIMBERLANDONILNECHEAPS.COM;
  TIMBERLANDONLINE.FR; TIMBERLANDONLINECLEARANCE.COM;
  TIMBERLANDONLINESHOP.COM; TIMBERLANDOUTLET.CO;
  TIMBERLANDOUTLETSITO.COM; TIMBERLAND-PT.COM;
  TIMBERLANDREDUCERI.COM; TIMBERLANDREDUCERI.NET;
  TIMBERLANDSALEOUTLET.COM; TIMBERLANDSAPATOSPT.COM;
  TIMBERLANDSDAMEN.DE; TIMBERLANDSHOESONLINEUK.COM;
  TIMBERLANDSHOPONLINE.COM; TIMBERLAND-SHOPS.COM;
  TIMBERLAND-SITOUFFICIALE.COM; TIMBERLAND-SKO.COM;
  TIMBERLANDSKONORGE.COM; TIMBERLANDSNEAKERS.DE;
  TIMBERLANDSSHOES.US; TIMBERLANDSSTORE.US; TIMBERLAND-
  STORES.COM; TIMBERLANDSYDNEY.COM; TIMBERLAND-UK-
  BOOTS.COM; TIMBERLANDUKCHEAPS.COM;
  TIMBERLANDUSONLINE.COM; TIMBERLANDUSONLINEOUTLET.COM;
  TIMBERLANDUSOUTLET.COM; TIMBERLANDVENTE.FR;
  TIMBERLANDZ.COM; TLSADMINSVCS.COM;
  TOSCANAITALIANPIZZERIA.CO.UK; TUOMOLILJENBACK.NET;
  UBREEDS.COM; UKTIMBERLANDONLINE.COM;
  UNOEILSURLETEMPS.COM; WARMGLASSART.CO.UK;
  WHEATTIMBERLANDBOOTS.COM; WHITETIMBERLAND6INCHUK.COM;
  WRITERSCA.COM; EASTPAKBOLSOS.ONLINE;
  EASTPAKEBOLSO.ONLINE; EASTPAKSACS.ONLINE; EASTPAK-
  SALE.COM; EASTPAKVERKAUF.ONLINE; EASTPAKZAINI.ONLINE;
  EZGISHBEBE.COM; and JULIANEHUANG.COM, Each an Individual,
  Partnership, Business Entity, and Unincorporated Association,
              Defendants.
  ________________________________________________________________/

                 COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

         Plaintiffs, The North Face Apparel Corp., TBL Licensing LLC, and JanSport Apparel

  Corp. (collectively “Plaintiffs”),1 hereby sue Defendants, the individuals, partnerships, business

  entities, and unincorporated associations identified in the caption and set forth on Schedule “A”

  hereto (collectively “Defendants”). Defendants are promoting, selling, offering for sale and

  distributing goods bearing and/or using counterfeits and confusingly similar imitations of



  1
     The Plaintiffs, The North Face Apparel Corp., TBL Licensing LLC, and JanSport Apparel
  Corp., are related ultimate subsidiaries of V.F. Corporation which is a global leader in branded
  lifestyle apparel, footwear and accessories.



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  Plaintiffs’ respective trademarks within this district through at least the fully interactive2

  commercial Internet websites and supporting domains operating under the domain names

  identified on Schedule “A” hereto (the “Subject Domain Names”). In support of their claims,

  Plaintiffs allege as follows:

                                  JURISDICTION AND VENUE

         1.      This is an action for federal trademark counterfeiting and infringement, false

  designation of origin, cybersquatting, common law unfair competition, and common law

  trademark infringement pursuant to 15 U.S.C. §§ 1114, 1116, 1125(a), and 1125(d), and The All

  Writs Act, 28 U.S.C. § 1651(a). Accordingly, this Court has subject matter jurisdiction over this

  action pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338. This Court has

  supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over Plaintiffs’ state law claims because

  those claims are so related to the federal claims that they form part of the same case or

  controversy.

         2.      Defendants are subject to personal jurisdiction in this district because they operate

  commercial websites accessible in this district and direct business activities towards consumers

  throughout the United States, including within the State of Florida and this district through at

  least the fully interactive commercial Internet websites and supporting domains operating under

  the Subject Domain Names.




  2
    At least one Defendant uses its Subject Domain Name to act as a supporting domain name to
  direct traffic to its fully-interactive, commercial website operating under another Subject Domain
  Name, from which consumers can complete purchases. The supporting domain name either
  automatically redirects or forwards to the fully-interactive website operating under another
  Subject Domain Name. The redirecting website is identified as such in Composite Exhibit “4”
  hereto.


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          3.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 since Defendants are,

  upon information and belief, engaged in infringing activities and causing harm within this district

  by advertising, offering to sell, and/or selling infringing products into this district.

                                           THE PLAINTIFFS

          4.      Plaintiff The North Face Apparel Corp. (“The North Face”) is a company

  organized and existing under the laws of the State of Delaware, having its principal place of

  business at 3411 Silverside Road, Wilmington, DE 19810.

          5.      Plaintiff TBL Licensing LLC (“TBL”) is a company organized and existing under

  the laws of the State of Delaware, having its principal place of business at 200 Domain Drive,

  Stratham, NH 03885.

          6.      Plaintiff JanSport Apparel Corp. (“JanSport”) is a company organized and

  existing under the laws of the State of Delaware, having its principal place of business at 3411

  Silverside Road, Wilmington, DE 19810.

          7.      Goods bearing the Plaintiffs’ registered trademarks set forth below are offered for

  sale and sold by their licensees which are related operating companies within the V.F.

  Corporation’s family of companies, through various channels of trade within the State of Florida,

  including this district, and throughout the United States. Defendants, through the sale and

  offering for sale of counterfeit and infringing versions of goods using counterfeits of Plaintiffs’

  respective Marks, are directly, and unfairly, competing with Plaintiffs’ economic interests in the

  State of Florida and causing Plaintiffs harm within this jurisdiction.

          8.      Like many other famous trademark owners, Plaintiffs suffer ongoing daily and

  sustained violations of their respective trademark rights at the hands of counterfeiters and

  infringers, such as Defendants herein, who wrongfully reproduce and counterfeit Plaintiffs’




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  individual trademarks for the twin purposes of (i) duping and confusing the consuming public

  and (ii) earning substantial profits.

            9.    In order to combat the indivisible harm caused by the combined actions of

  Defendants and others engaging in similar conduct, each year Plaintiffs expend significant

  monetary resources in connection with trademark enforcement efforts, including legal fees,

  investigative fees, and support mechanisms for law enforcement, such as field training guides

  and seminars. The recent explosion of counterfeiting over the Internet has created an

  environment that requires companies, such as Plaintiffs, to file a large number of lawsuits,

  against individuals and groups in order to protect both consumers and themselves from the ill

  effects of confusion and the erosion of the goodwill associated with Plaintiffs’ respective brands.

                                          THE DEFENDANTS

            10.   Defendants operate through domain names registered with registrars in multiple

  countries, and are comprised of individuals and/or business entities of unknown makeup, whom,

  upon information and belief, reside and/or operate in foreign jurisdictions, including the People’s

  Republic of China. Defendants have the capacity to be sued pursuant to Federal Rule of Civil

  Procedure 17(b). Defendants target their business activities towards consumers throughout the

  United States, including within this district through the simultaneous operation of at least the

  fully interactive commercial Internet websites and supporting domains existing under the Subject

  Domain Names.

            11.   Upon information and belief, Defendants use aliases in conjunction with the

  operation of their businesses, including but not limited to those identified on Schedule “A”

  hereto.




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         12.     Upon information and belief, Defendants are directly and personally contributing

  to, inducing and engaging in the sale of counterfeit branded products as alleged herein, often

  times as partners, co-conspirators and/or suppliers.

         13.     Defendants are part of an ongoing scheme to create and maintain an illegal

  marketplace enterprise on the World Wide Web, which (i) confuses consumers regarding the

  source of Defendants’ goods for profit, and (ii) expands the marketplace for illegal, counterfeit

  versions of Plaintiffs’ branded goods while shrinking the legitimate marketplace for Plaintiffs’

  genuine branded goods. The natural and intended byproduct of Defendants’ actions is the erosion

  and destruction of the goodwill associated with Plaintiffs’ respective famous names and

  associated trademarks, as well as the destruction of the legitimate market sector in which they

  operate.

         14.     Defendants are the past and present controlling forces behind the operation of the

  Internet websites operating under, at least, the Subject Domain Names.

         15.     Upon information and belief, Defendants directly engage in unfair competition

  with Plaintiffs by (i) advertising, offering for sale and/or selling goods bearing and/or using

  counterfeits and infringements of one or more of Plaintiffs’ individual trademarks to consumers

  within the United States and this district through at least the fully interactive commercial Internet

  websites and supporting domains operating under the Subject Domain Names, and additional

  domains and websites not yet known to Plaintiffs and (ii) creating and maintaining an illegal

  marketplace enterprise for the purpose of diverting business from Plaintiffs’ legitimate

  marketplace for their genuine goods. Defendants have purposefully directed some portion of

  their illegal activities towards consumers in the State of Florida through the advertisement, offer

  to sell, sale, and/or shipment of counterfeit branded goods into the State, and by operating an




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  illegal marketplace enterprise which impacts and interferes with commerce throughout the

  United States, including within the State of Florida.

          16.     Upon information and belief, Defendants have registered, established or

  purchased, and maintained their respective Subject Domain Names and the websites operating

  thereunder. Upon information and belief, many Defendants have engaged in fraudulent conduct

  with respect to the registration of the Subject Domain Names by providing false and/or

  misleading information to their various registrars during the registration or maintenance process.

  Upon information and belief, many Defendants have registered and/or maintained their Subject

  Domain Names for the sole purpose of engaging in illegal counterfeiting activities.

          17.     Upon information and belief, Defendants will continue to register or acquire new

  domain names for the purpose of selling and/or offering for sale goods bearing and/or using

  counterfeit and confusingly similar imitations of one or more of Plaintiffs’ respective trademarks

  unless preliminarily and permanently enjoined. Moreover, upon information and belief,

  Defendants will continue to maintain and grow their illegal marketplace enterprise at Plaintiffs’

  expense unless preliminarily and permanently enjoined.

          18.     Defendants’ entire Internet-based website businesses amount to nothing more

  than illegal operations established and operated in order to infringe the intellectual property

  rights of Plaintiffs and others.

          19.     Defendants’ business names, i.e., the Subject Domain Names, and any other alias

  domain names used in connection with the sale of counterfeit and infringing goods bearing

  and/or using Plaintiffs’ respective trademarks are essential components of Defendants’

  counterfeiting and infringing activities and are one of the means by which Defendants further

  their counterfeiting and infringement scheme and cause harm to Plaintiffs.             Moreover,




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  Defendants are using Plaintiffs’ respective famous names and associated trademarks to drive

  Internet consumer traffic to their websites operating under the Subject Domain Names, thereby

  creating and increasing the value of the Subject Domain Names and decreasing the size and

  value of Plaintiffs’ legitimate consumer marketplace at Plaintiffs’ expense.

                             COMMON FACTUAL ALLEGATIONS

         The North Face’s Trademark Rights

         20.     The North Face is the owner of all rights, title, and interest in the trademarks

  identified on Schedule “B” hereto (collectively, the “TNF Marks”), which are valid and

  registered on the Principal Register of the United States Patent and Trademark Office.

         21.     The TNF Marks are used in conjunction with the manufacture and distribution of

  high quality goods in the categories identified in Schedule “B.” True and correct copies of the

  Certificates of Registration for the TNF Marks are attached hereto as Composite Exhibit “1.”

         22.     TNF Marks have been used in interstate commerce to identify and distinguish

  high quality goods for an extended period of time and serve as symbols of The North Face’s

  quality, reputation and goodwill.

         23.     Further, The North Face and its related companies have expended substantial

  time, money and other resources developing, advertising and otherwise promoting the TNF

  Marks. The TNF Marks qualify as famous marks as that term is used in 15 U.S.C. §1125(c)(1).

         24.     The North Face and its related companies have extensively used, advertised and

  promoted the TNF Marks in the United States in connection with the sale of high quality goods.

  As a result, the TNF Marks are among the most widely recognized trademarks in the United

  States, and the trademarks have achieved secondary meaning as identifiers of high quality goods.




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         25.     The North Face has carefully monitored and policed the use of the TNF Marks

  and has never assigned or licensed the TNF Marks to any Defendant in this matter.

         26.     Genuine goods bearing and/or using the TNF Marks are widely legitimately

  advertised and promoted by The North Face, its related companies, authorized distributors, and

  unrelated third parties via the Internet. Visibility on the Internet, particularly via Internet search

  engines such as Google, Yahoo!, and Bing has become increasingly important to The North

  Face’s overall marketing and consumer education efforts. Thus, The North Face, its related

  companies, and authorized distributors expend significant monetary resources on Internet

  marketing and consumer education, including search engine optimization (“SEO”) strategies.

  Those strategies allow The North Face, its related companies, and authorized distributors to

  fairly and legitimately educate consumers about the value associated with the TNF Marks and

  the goods sold thereunder.

         TBL’s Trademark Rights

         27.     TBL is the owner of all rights in and to the trademarks identified on Schedule “C”

  hereto (collectively, the “TBL Marks”), which are valid and registered on the Principal Register

  of the United States Patent and Trademark Office. The TBL Marks are used in conjunction with

  the manufacture and distribution of high quality goods in the categories identified in Schedule

  “C.” True and correct copies of the Certificates of Registration for the TBL Marks are attached

  hereto as Composite Exhibit “2.”

         28.     The TBL Marks have been used in interstate commerce to identify and distinguish

  high quality goods for an extended period of time and serve as symbols of TBL’s quality,

  reputation and goodwill.




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         29.    Further, TBL and its related companies have expended substantial time, money

  and other resources developing, advertising and otherwise promoting the TBL Marks. The TBL

  Marks qualify as famous marks as that term is used in 15 U.S.C. §1125(c)(1).

         30.    TBL and its related companies have extensively used, advertised and promoted

  the TBL Marks in the United States in connection with the sale of high quality goods. As a

  result, the TBL Marks are among the most widely recognized trademarks in the United States,

  and the trademarks have achieved secondary meaning as identifiers of high quality goods.

         31.    TBL has carefully monitored and policed the use of the TBL Marks and has never

  assigned or licensed the TBL Marks to any Defendant in this matter.

         32.    Genuine goods bearing and/or using the TBL Marks are widely legitimately

  advertised and promoted by TBL, its related companies, and unrelated third parties via the

  Internet. Visibility on the Internet, particularly via Internet search engines such as Google,

  Yahoo!, and Bing has become increasingly important to TBL’s overall marketing and consumer

  education efforts. Thus, TBL expends significant monetary resources on Internet marketing and

  consumer education, including SEO strategies. Those strategies allow TBL and its related

  companies to fairly and legitimately educate consumers about the value associated with the TBL

  Marks and the goods sold thereunder.

         JanSport’s Trademark Rights

         33.    JanSport is the owner of all rights in and to the trademarks identified on Schedule

  “D” hereto (collectively, the “EASTPAK Marks”), which are valid and registered on the

  Principal Register of the United States Patent and Trademark Office. The EASTPAK Marks are

  used in conjunction with the manufacture and distribution of high quality goods in the categories




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  identified in Schedule “D.” True and correct copies of the Certificates of Registration for the

  EASTPAK Marks are attached hereto as Composite Exhibit “3.”

         34.       The EASTPAK Marks have been used in interstate commerce to identify and

  distinguish high quality goods for an extended period of time and serve as symbols of JanSport’s

  quality, reputation and goodwill.

         35.       Further, JanSport and its related companies have expended substantial time,

  money and other resources developing, advertising and otherwise promoting the EASTPAK

  Marks. The EASTPAK Marks qualify as famous marks as that term is used in 15 U.S.C.

  §1125(c)(1).

         36.       JanSport and its related companies have extensively used, advertised and

  promoted the EASTPAK Marks in the United States in connection with the sale of high quality

  goods. As a result, the EASTPAK Marks are among the most widely recognized trademarks in

  the United States, and the trademarks have achieved secondary meaning as identifiers of high

  quality goods.

         37.       JanSport has carefully monitored and policed the use of the EASTPAK Marks and

  has never assigned or licensed the EASTPAK Marks to any Defendant in this matter.

         38.       Genuine goods bearing and/or using the EASTPAK Marks are widely legitimately

  advertised and promoted by JanSport, its related companies, and unrelated third parties via the

  Internet. Visibility on the Internet, particularly via Internet search engines such as Google,

  Yahoo!, and Bing has become increasingly important to JanSport’s overall marketing and

  consumer education efforts. Thus, JanSport expends significant monetary resources on Internet

  marketing and consumer education, including SEO strategies. Those strategies allow JanSport




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  and its related companies to fairly and legitimately educate consumers about the value associated

  with the EASTPAK Marks and the goods sold thereunder.

         Defendants’ Infringing Activities

         39.     Upon information and belief, Defendants are promoting and advertising,

  distributing, selling and/or offering for sale goods in interstate commerce bearing and/or using

  counterfeit and infringing trademarks that are exact copies of the TNF Marks, the TBL Marks,

  and/or the EASTPAK Marks (the “Counterfeit Goods”) through the fully interactive commercial

  Internet websites and supporting domains operating under the Subject Domain Names. True and

  correct copies of the web pages reflecting samples of the Internet websites operating under the

  Subject Domain Names are attached hereto as Composite Exhibit “4.” Specifically, upon

  information and belief, Defendants are using identical copies of the TNF Marks, TBL Marks,

  and/or EASTPAK Marks (collectively, “Plaintiffs’ Marks”) for different quality goods. Plaintiffs

  have used their respective Marks extensively and continuously before Defendants began offering

  counterfeit and confusingly similar imitations of Plaintiffs’ goods.

         40.     Upon information and belief, Defendants’ Counterfeit Goods are of a quality

  substantially different than that of the genuine goods sold under Plaintiffs’ respective Marks.

  Defendants, upon information and belief, are actively using, promoting and otherwise

  advertising, distributing, selling and/or offering for sale substantial quantities of their Counterfeit

  Goods with the knowledge and intent that such goods will be mistaken for the genuine quality

  goods offered for sale by Plaintiffs despite Defendants’ knowledge that they are without

  authority to use Plaintiffs’ Marks. The net effect of Defendants’ actions will cause confusion of

  consumers at the time of initial interest, sale, and in the post-sale setting, who will believe




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  Defendants’ Counterfeit Goods are genuine goods originating from, associated with, and

  approved by Plaintiffs.

         41.     Defendants advertise their Counterfeit Goods for sale to the consuming public via

  at least their websites operating under the Subject Domain Names. In so advertising these goods,

  Defendants improperly and unlawfully use one or more of Plaintiffs’ Marks without Plaintiffs’

  permission. Indeed, Defendants herein misappropriated Plaintiffs’ advertising ideas and methods

  of doing business with regard to the advertisement and sale of Plaintiffs’ respective, genuine

  goods. Upon information and belief, the misappropriation of Plaintiffs’ advertising ideas in the

  form of Plaintiffs’ Marks is, in part, the proximate cause of harm to Plaintiffs.

         42.     As part of their overall infringement and counterfeiting scheme, Defendants are,

  upon information and belief, concurrently employing and benefiting from substantially similar,

  and often times coordinated, paid advertising and SEO strategies based, in large measure, upon

  an illegal use of counterfeits and infringements of one or more of Plaintiffs’ Marks. Specifically,

  Defendants are, upon information and belief, using counterfeits of Plaintiffs’ respective famous

  names and Plaintiffs’ Marks in order to make their websites selling illegal goods appear more

  relevant and attractive to consumers online. By their actions, Defendants are contributing to the

  creation and maintenance of an illegal marketplace operating in parallel to the legitimate

  marketplace for Plaintiffs’ respective genuine goods. Defendants are causing, individual,

  concurrent and indivisible harm to Plaintiffs and the consuming public by (i) depriving Plaintiffs

  of their right to fairly compete for space within search engine results and reducing the visibility

  of Plaintiffs’ genuine goods on the World Wide Web, (ii) causing an overall degradation of the

  value of the goodwill associated with Plaintiffs’ Marks, (iii) increasing Plaintiffs’ overall cost to

  market their goods and educate consumers about their brands via the Internet, and/or (iv)




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  maintaining an illegal marketplace enterprise which perpetuates the ability of Defendants and

  future entrants to that marketplace to confuse consumers and harm Plaintiffs with impunity.

         43.     Upon information and belief, Defendants are concurrently conducting and

  targeting their counterfeiting and infringing activities toward consumers and causing harm within

  this district and elsewhere throughout the United States. As a result, Defendants are defrauding

  Plaintiffs and the consuming public for Defendants’ own benefit.

         44.     Upon information and belief, at all times relevant hereto, Defendants in this action

  had full knowledge of Plaintiffs’ respective ownership of Plaintiffs’ Marks, including their

  respective, exclusive rights to use and license such intellectual property and the goodwill

  associated therewith.

         45.     Defendants’ use of Plaintiffs’ Marks, including the promotion and advertisement,

  reproduction, distribution, sale and/or offering for sale of their Counterfeit Goods, is without

  Plaintiffs’ consent or authorization.

         46.     Defendants are engaging in the above-described illegal counterfeiting and

  infringing activities knowingly and intentionally or with reckless disregard or willful blindness to

  Plaintiffs’ rights for the purpose of trading on Plaintiffs’ goodwill and reputation. If Defendants’

  intentional counterfeiting and infringing activities are not preliminarily and permanently

  enjoined by this Court, Plaintiffs and the consuming public will continue to be harmed.

         47.     Defendants’ above identified infringing activities are likely to cause confusion,

  deception and mistake in the minds of consumers before, during, and after the time of purchase.

  Moreover, Defendants’ wrongful conduct is likely to create a false impression and deceive

  customers into believing there is a connection or association between Plaintiffs’ respective

  genuine goods and Defendants’ Counterfeit Goods, which there is not.




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          48.    Further, upon information and belief, many Defendants have registered their

  respective Subject Domain Names, using marks that are nearly identical and/or confusingly

  similar to at least one of Plaintiffs’ Marks (collectively the “Cybersquatted Subject Domain

  Names”).

          49.    Defendants do not have, nor have they ever had, the right or authority to use

  Plaintiffs’ Marks. Further, Plaintiffs’ Marks have never been assigned or licensed to be used on

  any of the websites including the websites operating under the Cybersquatted Subject Domain

  Names.

          50.    Upon information and belief, Defendants have provided false and/or misleading

  contact information when applying for the registration of the Cybersquatted Subject Domain

  Names, or have intentionally failed to maintain accurate contact information with respect to the

  registration of the Cybersquatted Subject Domain Names.

          51.    Upon information and belief, Defendants have never used any of the

  Cybersquatted Subject Domain Names in connection with a bona fide offering of goods or

  services.

          52.    Upon information and belief, Defendants have not made any bona fide non-

  commercial or fair use of Plaintiffs’ Marks on a website accessible under any of the

  Cybersquatted Subject Domain Names.

          53.    Upon information and belief, Defendants have intentionally incorporated

  Plaintiffs’ respective Marks in their Cybersquatted Subject Domain Names to divert consumers

  looking for Plaintiffs’ respective Internet websites to their own Internet websites for commercial

  gain.




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         54.     Given the visibility of Defendants’ various websites and the similarity of their

  actions, including their SEO activities, it is clear Defendants are either related or, at a minimum,

  cannot help but know of each other’s existence and the damage likely to be caused to Plaintiffs

  as a result of Defendants’ concurrent actions.

         55.     Although some Defendants may be acting independently, they may properly be

  deemed to be acting in concert because the combined force of their actions serves to multiply the

  harm caused to Plaintiffs.

         56.     Plaintiffs have no adequate remedy at law.

         57.     Plaintiffs are suffering irreparable injury and have suffered substantial damages as

  a result of Defendants’ unauthorized and wrongful use of Plaintiffs’ Marks. If Defendants’

  counterfeiting, infringing, cybersquatting, and unfairly competitive activities, and their illegal

  marketplace enterprise are not preliminarily and permanently enjoined by this Court, Plaintiffs

  and the consuming public will continue to be harmed.

         58.     The injury and damages sustained by Plaintiffs have been directly and

  proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offers

  to sell, and sale of their Counterfeit Goods and by the creation, maintenance and very existence

  of Defendants’ illegal marketplace enterprise.

           COUNT I - TRADEMARK COUNTERFEITING AND INFRINGEMENT
             PURSUANT TO § 32 OF THE LANHAM ACT (15 U.S.C. § 1114)

         59.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 58 above.

         60.     This is an action for trademark counterfeiting and infringement against

  Defendants based on their use of counterfeit and confusingly similar imitations of Plaintiffs’




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  Marks in commerce in connection with the promotion, advertisement, distribution, sale and/or

  offering for sale of the Counterfeit Goods.

         61.     Specifically, Defendants are promoting and otherwise advertising, selling,

  offering for sale, and distributing products bearing and/or using counterfeits and/or infringements

  of one or more of Plaintiffs’ Marks. Defendants are continuously infringing and inducing others

  to infringe Plaintiffs’ Marks by using them to advertise, promote, sell and/or offer to sell goods

  bearing and/or using Plaintiffs’ Marks.

         62.     Defendants’ concurrent counterfeiting and infringing activities are likely to cause

  and actually are causing confusion, mistake and deception among members of the trade and the

  general consuming public as to the origin and quality of Defendants’ Counterfeit Goods.

         63.     Defendants’ unlawful actions have caused and are continuing to cause

  unquantifiable damage and irreparable harm to Plaintiffs and are unjustly enriching Defendants

  at Plaintiffs’ expense.

         64.     Defendants’ above-described illegal actions constitute counterfeiting and

  infringement of Plaintiffs’ Marks in violation of Plaintiffs’ respective rights under § 32 of the

  Lanham Act, 15 U.S.C. § 1114.

         65.     Plaintiffs have each suffered and will continue to suffer irreparable injury due to

  Defendants’ above described activities if Defendants are not preliminarily and permanently

  enjoined.

                    COUNT II - FALSE DESIGNATION OF ORIGIN
              PURSUANT TO § 43(a) OF THE LANHAM ACT (15 U.S.C. § 1125(a))

         66.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 58 above.




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         67.       Defendants’ Counterfeit Goods using, offered for sale, and sold under copies of

  one or more of Plaintiffs’ Marks have been widely advertised and offered for sale throughout the

  United States.

         68.       Defendants’ Counterfeit Goods using, offered for sale and sold under copies of

  one or more of Plaintiffs’ Marks are virtually identical in appearance to Plaintiffs’ respective,

  genuine goods. However, Defendants’ Counterfeit Goods are different in quality. Accordingly,

  Defendants’ activities are likely to cause confusion in the trade and among the general public as

  to at least the origin or sponsorship of their Counterfeit Goods.

         69.       Defendants, upon information and belief, have used in connection with their

  advertisement, offers for sale, and sale of the Counterfeit Goods, false designations of origin and

  false descriptions and representations, including words or other symbols and trade dress which

  tend to falsely describe or represent such goods and have caused such goods to enter into

  commerce with full knowledge of the falsity of such designations of origin and such descriptions

  and representations, all to Plaintiffs’ detriment.

         70.       Defendants have authorized infringing uses of one or more of Plaintiffs’ Marks in

  Defendants’ advertisement and promotion of their counterfeit and infringing branded goods.

  Defendants have also misrepresented to members of the consuming public that the Counterfeit

  Goods being advertised and sold by them are genuine, non-infringing goods.

         71.       Additionally, Defendants are using counterfeits and infringements of one or more

  of Plaintiffs’ Marks in order to unfairly compete with Plaintiffs and others for space within

  search engine organic results, thereby jointly depriving Plaintiffs of a valuable marketing and

  educational tool which would otherwise be available to Plaintiffs and reducing the visibility of

  Plaintiffs’ genuine goods on the World Wide Web.




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         72.     Defendants’ above-described actions are in violation of Section 43(a) of the

  Lanham Act, 15 U.S.C. §1125(a).

         73.     Plaintiffs have no adequate remedy at law, and have each sustained indivisible

  injury and damage caused by Defendants’ concurrent conduct. Absent an entry of an injunction

  by this Court, Plaintiffs will continue to suffer irreparable injury to their respective goodwill and

  business reputations, as well as monetary damages.

                 COUNT III - CLAIM FOR RELIEF FOR CYBERSQUATTING
               PURSUANT TO §43(d) OF THE LANHAM ACT (15 U.S.C. §1125(d))

         74.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 58 above.

         75.     Upon information and belief, Defendants have acted with the bad faith intent to

  profit from the TNF Marks, the TBL Marks, and the EASTPAK Marks and the goodwill

  associated with the Marks by registering and using the Cybersquatted Subject Domain Names.

         76.     The TNF Marks, the TBL Marks, and the EASTPAK Marks were distinctive and

  famous at the time Defendants registered the Cybersquatted Subject Domain Names.

         77.     Defendants have no intellectual property rights in or to the TNF Marks, the TBL

  Marks, and the EASTPAK Marks.

         78.     The Cybersquatted Subject Domain Names are identical to, confusingly similar to

  or dilutive of at least one of the TNF Marks, the TBL Marks, and the EASTPAK Marks.

         79.     Defendants’ conduct is done with knowledge and constitutes a willful violation of

  Plaintiffs’ rights in their respective Marks. At a minimum, Defendants’ conduct constitutes

  reckless disregard for and willful blindness to Plaintiffs’ respective rights.

         80.     Defendants’ actions constitute cybersquatting in violation of §43(d) of the

  Lanham Act, 15 U.S.C. §1125(d).



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         81.     Plaintiffs have no adequate remedy at law and have suffered and will continue to

  suffer irreparable injury and damage due to the above described activities of Defendants if

  Defendants are not preliminarily and permanently enjoined.

                       COUNT IV - COMMON LAW UNFAIR COMPETITION

         82.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 58 above.

         83.     This is an action against Defendants based on their (i) promotion, advertisement,

  distribution, sale, and/or offering for sale of goods bearing and/or using marks that are virtually

  identical, both visually and phonetically, to Plaintiffs’ Marks and (ii) creation and maintenance

  of an illegal, ongoing marketplace enterprise operating in parallel to the legitimate marketplace

  in which Plaintiffs sell their genuine goods, in violation of Florida’s common law of unfair

  competition.

         84.     Specifically, Defendants are promoting and otherwise advertising, selling,

  offering for sale, and distributing goods bearing and/or using counterfeits and infringements of

  Plaintiffs’ Marks. Defendants are also using counterfeits and infringements of one or more of

  Plaintiffs’ Marks to unfairly compete with Plaintiffs and others for (i) space in search engine

  results across an array of search terms and/or (ii) visibility on the World Wide Web.

         85.     Defendants’ infringing activities are likely to cause and actually are causing

  confusion, mistake, and deception among members of the trade and the general consuming

  public as to the origin and quality of Defendants’ products by their use of Plaintiffs’ Marks.

         86.     Plaintiffs have no adequate remedy at law and are suffering irreparable injury and

  damages as a result of Defendants’ actions.




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                 COUNT V - COMMON LAW TRADEMARK INFRINGEMENT

           87.   Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 58 above.

           88.   This is an action for common law trademark infringement against Defendants

  based on their promotion, advertisement, offering for sale, and sale of their Counterfeit Goods

  bearing and/or using one or more of Plaintiffs’ Marks. Plaintiffs are the owners of all common

  law rights in and to Plaintiffs’ Marks.

           89.   Specifically, Defendants, upon information and belief, are promoting and

  otherwise advertising, distributing, offering for sale, and selling goods bearing and/or using

  infringements of one or more of Plaintiffs’ Marks.

           90.   Defendants’ infringing activities are likely to cause and actually are causing

  confusion, mistake and deception among members of the trade and the general consuming public

  as to the origin and quality of Defendants’ Counterfeit Goods bearing and/or using Plaintiffs’

  Marks.

           91.   Plaintiffs have no adequate remedy at law and are suffering irreparable injury and

  damages as a result of Defendants’ actions.

                                      PRAYER FOR RELIEF

           92.   WHEREFORE, Plaintiffs demand judgment on all Counts of this Complaint and

  an award of equitable relief and monetary relief against Defendants as follows:

                 a.      Entry of temporary, preliminary and permanent injunctions pursuant to 15

  U.S.C. § 1116 and Federal Rule of Civil Procedure 65 enjoining Defendants, their agents,

  representatives, servants, employees, and all those acting in concert or participation therewith,

  from manufacturing or causing to be manufactured, importing, advertising or promoting,




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  distributing, selling or offering to sell their Counterfeit Goods; from infringing, counterfeiting, or

  diluting Plaintiffs’ Marks; from using Plaintiffs’ Marks, or any mark or trade dress similar

  thereto, in connection with the sale of any unauthorized goods; from using any logo, trade name

  or trademark or trade dress that may be calculated to falsely advertise the services or goods of

  Defendants as being sponsored by, authorized by, endorsed by, or in any way associated with

  Plaintiffs; from falsely representing themselves as being connected with Plaintiffs, through

  sponsorship or association, or engaging in any act that is likely to falsely cause members of the

  trade and/or of the purchasing public to believe any goods or services of Defendants are in any

  way endorsed by, approved by, and/or associated with Plaintiffs; from using any reproduction,

  counterfeit, infringement, copy, or colorable imitation of Plaintiffs’ Marks in connection with the

  publicity, promotion, sale, or advertising of any goods sold by Defendants; from affixing,

  applying, annexing or using in connection with the sale of any goods, a false description or

  representation, including words or other symbols tending to falsely describe or represent

  Defendants’ goods as being those of Plaintiffs, or in any way endorsed by Plaintiffs and from

  offering such goods in commerce; from engaging in search engine optimization strategies using

  colorable imitations of Plaintiffs’ respective name or trademarks; and from otherwise unfairly

  competing with Plaintiffs.

                 b.      Entry of a temporary restraining order, as well as preliminary and

  permanent injunctions pursuant to 28 U.S.C. § 1651(a), The All Writs Act, enjoining Defendants

  and all third parties with actual notice of the injunction from participating in, including providing

  financial services, technical services or other support to, Defendants in connection with the sale

  and distribution of non-genuine goods bearing and/or using counterfeits and/or infringements of

  Plaintiffs’ Marks.




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                 c.      Entry of an order that, upon Plaintiffs’ request, those acting in concert or

  participation with Defendants who have notice of the injunction, as service providers cease

  hosting, facilitating access to, or providing any supporting service to any and all domain names,

  including but not limited to the Subject Domain Names, and websites through which Defendants

  engage in the promotion, offering for sale and/or sale of goods bearing and/or using counterfeits

  and/or infringements of Plaintiffs’ Marks.

                 d.      Entry of an order pursuant to 28 U.S.C §1651(a), The All Writs Act that,

  upon Plaintiffs’ request, the top level domain (TLD) Registry for each of the Subject Domain

  Names, and any other domains used by Defendants, or their administrators, including backend

  registry operators or administrators, place the Subject Domain Names on Registry Hold status for

  the remainder of the registration period for any such domain name, thus removing them from the

  TLD zone files which link the Subject Domain Names to the IP addresses where the associated

  websites are hosted.

                 e.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act and

  the Court’s inherent authority, canceling for the life of the current registration or, at Plaintiffs’

  election, transferring the Subject Domain Names and any other domain names used by

  Defendants to engage in their counterfeiting of Plaintiffs’ Marks at issue to Plaintiffs’ control so

  they may no longer be used for illegal purposes.

                 f.      Entry of an order requiring Defendants, their agent(s) or assign(s), to

  assign all rights, title, and interest, to their Subject Domain Name(s) to Plaintiffs and, if within

  five (5) days of entry of such order Defendants fail to make such an assignment, the Court order

  the act to be done by another person appointed by the Court at Defendants’ expense, such as the

  Clerk of Court, pursuant to Federal Rule of Civil Procedure 70(a).




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                 g.      Entry of an order requiring Defendants, their agent(s) or assign(s), to

  instruct all search engines to permanently delist or deindex the Subject Domain Name(s) and, if

  within five (5) days of entry of such order Defendants fail to make such a written instruction, the

  Court order the act to be done by another person appointed by the Court at Defendants’ expense,

  such as the Clerk of Court, pursuant to Federal Rule of Civil Procedure 70(a).

                 h.      Entry of an order requiring Defendants to account to and pay Plaintiffs for

  all profits and damages resulting from Defendants’ trademark counterfeiting and infringing

  activities and that the award to Plaintiffs be trebled, as provided for under 15 U.S.C. §1117, or, at

  Plaintiffs’ election with respect to Count I, that Plaintiffs be awarded statutory damages from

  each Defendant in the amount of two million dollars ($2,000,000.00) per each counterfeit

  trademark used and product sold, as provided by 15 U.S.C. §1117(c)(2) of the Lanham Act.

                 i.      Entry of an order requiring the relevant Defendants to account to and pay

  Plaintiffs for all profits and damages resulting from those Defendants’ cybersquatting activities

  and that the award to Plaintiffs be trebled, as provided for under 15 U.S.C. §1117, or, at

  Plaintiffs’ election with respect to Count III, that Plaintiffs be awarded statutory damages from

  the relevant Defendants in the amount of one hundred thousand dollars ($100,000.00) per

  cybersquatted domain name used as provided by 15 U.S.C. §1117(d) of the Lanham Act.

                 j.      Entry of an award pursuant to 15 U.S.C. § 1117 (a) and (b) of Plaintiffs’

  costs and reasonable attorneys’ fees and investigative fees associated with bringing this action.

                 k.      Entry of an award of pre-judgment interest on the judgment amount.

                 l.      Entry of an order for any further relief as the Court may deem just and

  proper.




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  DATED: November 20, 2018.    Respectfully submitted,

                               STEPHEN M. GAFFIGAN, P.A.

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                             SCHEDULE “A”
             DEFENDANTS BY NUMBER AND SUBJECT DOMAIN NAME

                    Defendant
                                Defendant / Subject Domain Name
                     Number
                         1      thenorthfacebarato.es
                         2      21staesthetics.com
                         3      34iimg.com
                         4      advancingbio.org
                         5      afterpornends2.com
                         6      agent-ticket.com
                         7      agriturismorvile.com
                         8      ajelmasnou.es
                         9      akaplanning.co.uk
                        10      alcyeagles.com
                        11      alphapackuk.co.uk
                        12      amelioretoitconfort.fr
                        13      appart-auto.com
                        14      asociaciongastrobloggers.es
                        15      autorefine.co.uk
                        16      ayso1091.com
                        17      backacounty.com
                        18      banlieuespatriotes.fr
                        19      belltreemac.com
                        20      bestmarketingcopy.com
                        21      beyondblissmassage.com
                        22      blogeale.com
                        23      blue-house.es
                        24      bobsztorc.com
                        25      bwhimsygifts.com
                        26      captainmikebeach.com
                        27      cellarwineandbeer.com
                        28      cibya.es
                        29      Clothas.xyz
                        30      clothdg.xyz
                        31      clothdk.xyz
                        32      clotholip.xyz
                        33      Clothop.xyz
                        34      clothrti.xyz
                        35      clothsre.xyz
                        36      clothugh.xyz
                        37      clothvcd.club
                        38      clothwre.xyz



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                       39     clothyiw.xyz
                       40     codedromance.co
                       41     dallascoinclub.org
                       42     dentesdental.co.uk
                       43     dixonnacey.com
                       44     dozestadium.com
                       45     drcomplete.co.uk
                       46     el10deveedor.es
                       47     encounter-steubenville.com
                       48     energiseandengage.co.uk
                       49     envisionescalante.org
                       50     eugenetolerie.fr
                       51     farmsanctuarykidzclub.com
                       52     fgckkakamegatown.org
                       53     fierykicks.com
                       54     flower-space.com
                       55     ftcollinscareers.com
                       56     gearrural.com
                       57     globaloservices.co.uk
                       58     guitarinfo.es
                       59     hartboy.co.uk
                       60     hazzclothing.com
                       61     homeboundhair.com
                       62     homeclipartanimaldeer.com
                       63     imos-tm.com
                       64     intervip.es
                       65     invictafx.com
                       66     isallinner.com
                       67     janlongcommunications.com
                       68     jgpersonnel.co.uk
                       69     kabatoutlet.com
                       70     kamikazekitten.co.uk
                       71     khuttar-restaurant.co.uk
                       72     kyrakirkwood.com
                       73     laquintacarlsbad.com
                       74     lavidaqueamaron.com
                       75     lesbellescopines.fr
                       76     linkiekle.com
                       77     longmeadowscottage.co.uk
                       78     loseweightforscotland.co.uk
                       79     m2gleadershipbiz.com
                       80     masonsyamaha.com
                       81     mediassociation.com


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                        82    mer-kunic.com
                        83    mialofgrens.com
                        84    miraie-insurance.com
                        85    moloskydental.com
                        86    montacargas-elche.es
                        87    mydecoday.com
                        88    mynewlaw.com
                        89    narumonindustry.com
                        90    nfasda.club
                        91    nfasdsa.club
                        92    nfdoem.com
                        93    nfest.club
                        94    nfeteaf.top
                        95    nffanb.club
                        96    nffanbb.club
                        97    nfiicq.club
                        98    nfqwqaz.club
                        99    nfvusm.online
                       100    nfvxch.online
                       101    nfvxcu.online
                       102    norfolkbroadsphotos.com
                       103    o2fp-iledefrance.fr
                       104    onthespotoil.com
                       105    oscarboles.com
                       106    parkhurstlobsters.com
                       107    photo-scenix.com
                       108    pinnaclepharmacyrx.com
                       109    pinnaclewinetours.com
                       110    puedocambiarelmundo.com
                       111    quintette-spirale.fr
                       112    rawdolphins.com
                       113    roadtomoralcapitalism.com
                       114    rokewoodstud.com
                       115    roleofwomenineconomiclife.net
                       116    rutaselectricas.es
                       117    sacsiyahlatici.com
                       118    sanpietrotn.org
                       119    sard.es
                       120    shoemaniato.top
                       121    shulermeatsweb.com
                       122    someneverawaken.com
                       123    sospcweb.com
                       124    swatisprayers.com


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                       125    tampabizlist.com
                       126    tatticagt.com
                       127    taxi-castejon-de-navarra.es
                       128    thenorthfacemagazalari.com
                       129    thfsale.site
                       130    thichcumua.com
                       131    ugurkargo.com
                       132    vemqueeuteconto.com
                       133    vesakuusava.com
                       134    vydembutidos.es
                       135    weareover.es
                       136    wightsweetshack.co.uk
                       137    wizancjum.com
                       138    woodfordwineroom.co.uk
                       139    1stop4travel.com
                       140    2018timberland.com
                       141    2ndcenturyadhc.com
                       142    6inchtimberland.com
                       143    a-bowl.com
                       144    adamncopeland.com
                       145    additive-so.com
                       146    allsneakeronline.com
                       147    appliancesetcjerome.com
                       148    appmakersltd.com
                       149    aracrm.com
                       150    barendbmx.co.uk
                       151    bicycletourtuscany.com
                       152    billigatimberlandsko.com
                       153    biwateraewt.com
                       154    bnrg.co.uk
                       155    bottestimberland.fr
                       156    brandsportshoesstore.com
                       157    buell-frankfurt.com
                       158    calcadostimberland.com
                       159    camaltecvalencia.es
                       160    casabellavidacabo.com
                       161    celestepedri.com
                       162    chatlimar.com
                       163    cheaptimberlandboots-2013.com
                       164    cheaptimberlandshoes.com
                       165    chesspub.co.uk
                       166    ciencia-e-cultura.com
                       167    commander-rezoning.com


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                       168    courtneybrookedesigns.com
                       169    creativehairmakeup.com
                       170    drmukeshsingh.com
                       171    eastbridgechorale.com
                       172    elainecostas.com
                       173    englishbrothersbeer.com
                       174    erfenisroof.nl
                       175    errorinsyntax.com
                       176    forretodo.com
                       177    francinegarnier.com
                       178    galizaxoga.es
                       179    gcchamplain.com
                       180    geekchicnyc.com
                       181    generationrwanda.org.uk
                       182    gifts4good.co.uk
                       183    glasshouseagency.com
                       184    goldengrillenj.com
                       185    grtimberland.com
                       186    hazymindshop.com
                       187    headboardsoutlet.com
                       188    hedgehogbot.co.uk
                       189    hotbrandsdepot.com
                       190    hsfacoustics.com
                       191    janparisbookfest.com
                       192    jptimberlandboots.com
                       193    jptimberlandssales.com
                       194    jsfloorsystems.com
                       195    kickstimberland.info
                       196    kjopetimberlandsko.com
                       197    klikklikpiks.co.uk
                       198    kousos.com
                       199    kpoealexander.com
                       200    ladivadebeautycenter.com
                       201    lavenderbluespa.com
                       202    lenfodem2017.org
                       203    lettersworth.com
                       204    libertydronesphilly.com
                       205    littleshopthemusical.com
                       206    lorenzademodas.com
                       207    lunchwithapurpose.com
                       208    mac-daddies.co.uk
                       209    magalyh.com
                       210    mapskoparadise.com


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                       211    mayartpaints.com
                       212    midlandtractorpullers.co.uk
                       213    mitsutouge-sansou.com
                       214    monroelimos.com
                       215    msgcspeeddating.com
                       216    myfabricfriend.com
                       217    mytimberlanduk.com
                       218    nartexkindo.com
                       219    neelkamalfoods.com
                       220    neonfitclub.com
                       221    nieuwtimberlandschoenen.com
                       222    noirtimberlandboots.com
                       223    nottinghamfixers.co.uk
                       224    oaklandsbedandbreakfast.co.uk
                       225    officialtimberlanduk.com
                       226    onyourdoorstep.org.uk
                       227    ottopr.co.uk
                       228    oventropmarket.com
                       229    paschertimberland.com
                       230    pensaosaojorge.com
                       231    perfectsalewa.com
                       232    phii.co.uk
                       233    physiquedepot.com
                       234    picktimberlandbootuk.com
                       235    planetamodelismo.com
                       236    playitagainscott.com
                       237    pnlycoaching.es
                       238    pop-pie.co.uk
                       239    postmusracing.nl
                       240    premednetwork.com
                       241    prkhomes.com
                       242    rapidresponsepestcontrol.co.uk
                       243    realtouch-shop.fr
                       244    redtimberlandboots.com
                       245    robertsbridgesummerevent.co.uk
                       246    roll-toptimberland.com
                       247    saintpauls-umc.com
                       248    saletimberlandjapan.com
                       249    schlosspark-putbus.com
                       250    sculpturesutton.com
                       251    selltimberlandboots.com
                       252    serruriersleraincy.com
                       253    shantiterapias.com


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                       254    shawneeheartlandal.com
                       255    shophalloweenadventure.com
                       256    shopstimberlandjp.com
                       257    shoptimberlandboots.com
                       258    steakandbourbon.com
                       259    sugizaki-inc.com
                       260    survivalstriker.com
                       261    tblboots.us
                       262    tctastes.com
                       263    thebcc.co.uk
                       264    thego2geeks.com
                       265    theindustrialarea.com
                       266    timberland1973.com
                       267    timberland6boots.com
                       268    timberlandabc.com
                       269    timberlandaustraliaonlineshop.com
                       270    timberlandboot.co
                       271    timberlandboot4you.com
                       272    timberlandbootol.us
                       273    timberlandboots.name
                       274    timberlandboots4u.com
                       275    timberlandbootsbest.com
                       276    timberlandbootsclassic.com
                       277    timberlandbootscustom.com
                       278    timberlandbootsk.com
                       279    timberlandbootsonlinecheap.com
                       280    timberlandbootssaleoutlet.com
                       281    timberlandbootsusonline.com
                       282    timberlandbootsusshop.com
                       283    timberlandcheapestoutlet.com
                       284    timberlandcizmeturkiye.com
                       285    timberlandclassicboatshoes.com
                       286    timberlandclearancebests.com
                       287    timberlanddukkani.com
                       288    timberlandearthkeeper.fr
                       289    timberlandesen.com
                       290    timberlandgreece.com
                       291    timberlanditalia.site
                       292    timberlandlojasportugal.com
                       293    timberlandmenshoes.com
                       294    timberlandnewzealand.com
                       295    timberlandonilnecheaps.com
                       296    timberlandonline.fr


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                       297    timberlandonlineclearance.com
                       298    timberlandonlineshop.com
                       299    timberlandoutlet.co
                       300    timberlandoutletsito.com
                       301    timberland-pt.com
                       302    timberlandreduceri.com
                       303    timberlandreduceri.net
                       304    timberlandsaleoutlet.com
                       305    timberlandsapatospt.com
                       306    timberlandsdamen.de
                       307    timberlandshoesonlineuk.com
                       308    timberlandshoponline.com
                       309    timberland-shops.com
                       310    timberland-sitoufficiale.com
                       311    timberland-sko.com
                       312    timberlandskonorge.com
                       313    timberlandsneakers.de
                       314    timberlandsshoes.us
                       315    timberlandsstore.us
                       316    timberland-stores.com
                       317    timberlandsydney.com
                       318    timberland-uk-boots.com
                       319    timberlandukcheaps.com
                       320    timberlandusonline.com
                       321    timberlandusonlineoutlet.com
                       322    timberlandusoutlet.com
                       323    timberlandvente.fr
                       324    timberlandz.com
                       325    tlsadminsvcs.com
                       326    toscanaitalianpizzeria.co.uk
                       327    tuomoliljenback.net
                       328    ubreeds.com
                       329    uktimberlandonline.com
                       330    unoeilsurletemps.com
                       331    warmglassart.co.uk
                       332    wheattimberlandboots.com
                       333    whitetimberland6inchuk.com
                       334    writersca.com
                       335    eastpakbolsos.online
                       336    eastpakebolso.online
                       337    eastpaksacs.online
                       338    eastpak-sale.com
                       339    eastpakverkauf.online


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                       340    eastpakzaini.online
                       341    ezgishbebe.com
                       342    julianehuang.com




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                              SCHEDULE “B”
                      THE NORTH FACE APPAREL CORP.’s
                    FEDERALLY REGISTERED TRADEMARKS

                    Registration
     Trademark                     Registration Date           Class(es)/Goods
                     Number
                                                       USC 003 - Backpacks
                                                       USC 022 - Sleeping bags; tents,
                                                       snowshoes, and skis
     THE NORTH
                      0,983,624      May 14, 1974      USC 039 - Camping clothing
       FACE
                                                       namely rainwear, parkas, vests,
                                                       trousers, shoes, gloves and
                                                       headgear
                                                       IC 018 - Backpacks
                                                       IC 020 - Sleeping bags
                                                       IC 022 - Tents
                      1,030,071     January 13, 1976   IC 025 - Camping clothing,
                                                       namely, rainwear, parkas, vests,
                                                       trousers, shoes, gloves, headgear
                                                       and snowshoes
                                                      IC 018 - Backpacks
                                                      IC 020 - Sleeping bags
                                                      IC 022 - Tents
                                                      IC 025 - Clothing, namely,
                      2,097,715    September 16, 1997 parkas, vests, jackets, anoraks,
                                                      pants, ski bibs, gloves, mittens,
                                                      underwear, hats, headbands, caps,
                                                      ski suits, gaiters, shorts, and
                                                      shirts


                      2,300,758    December 14, 1999 IC 025 - Shoes




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                                                    IC 009 - Computer bags
                                                    IC 018 - All purpose sporting
                                                    bags, backpacks, day packs,
                                                    knapsacks, rucksacks, book bags,
                                                    tote bags, handbags, duffel bags,
                                                    knap sacks and duffel sacks,
                                                    messenger bags, hip and lumbar
                                                    packs, hip belts, shoulder bags,
                                                    messenger bags, book bags, waist
                                                    packs, fanny packs, day packs,
                                                    shoulder bags, satchels,
                                                    mountaineering bags, boston
                                                    bags, internal frame packs and
                                                    external frame packs, backpack
                                                    bottle pockets, rain covers used to
                                                    cover the aforesaid; hydration
                                                    packs, namely, backpack
                                                    hydration systems consisting of a
                                                    backpack, a reservoir, and a
                                                    mouthpiece connected to the
                                                    reservoir by a tube; backpack
                                                    shoulder harnesses; parts and
                      3,538,773                     fittings for all the aforesaid goods
                                  November 25, 2008
                                                    IC 020 - Sleeping bags; covers
                                                    for sleeping bags; sleeping bag
                                                    pads; sleeping bag liners; sacks
                                                    for carrying and storing sleeping
                                                    bags; non-metal tent poles and
                                                    tent stakes
                                                    IC 021 - Hydration packs,
                                                    namely, hydration system
                                                    consisting of a reservoir and a
                                                    mouthpiece connected to the
                                                    reservoir by a tube
                                                    IC 022 - Tents; tent accessories,
                                                    namely, tent storage bags, rain
                                                    flies, vinyl ground cloths, tent
                                                    pole storage sacks, and gear loft
                                                    platforms used for storage
                                                    IC 025 - Clothing, namely, men's,
                                                    women's, and children's t-shirts,
                                                    shirts, tops, sweatshirts,
                                                    sweatpants, pants, side zip pants,
                                                    shorts, trousers, jeans, vests,
                                                    parkas, anoraks, coats, jackets,
                                                    wind-resistant jackets, jacket


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                                                    hoods, pullovers, sweaters,
                                                    coveralls, underwear, thermal
                                                    underwear, socks, tights, gloves,
                                                    mittens; outerwear, namely,
                                                    shells, one-piece shell suits, ski
                                                    wear, ski suits, ski vests, ski
                                                    jackets, ski bibs, bib overalls, bib
                                                    pants, snowboard wear, snow
                                                    pants, snow suits, rain wear, rain
                                                    jackets, rain pants, gaiters,
                                                    namely, neck gaiters, leg gaiters
                                                    and ankle gaiters; skirts, skorts,
                                                    dresses, swim trunks; footwear,
                                                    namely, athletic shoes, sneakers,
                                                    trail running shoes, climbing
                                                    shoes, hiking shoes, slippers,
                                                    climbing slippers, boots, trekking
                                                    boots, hiking boots, snowshoes,
                                                    clogs, sandals; headgear, namely,
                                                    caps, hats, headbands, bandanas,
                                                    scarves, earbands, earmuffs,
                                                    balaclavas, visors, beanies; belts
                                                    IC 035 - On-line retail store
                                                    services, retail store services,
                                                    mail order, catalogue and
                                                    distributorship services, all
                                                    featuring camping and outdoor
                                                    gear and equipment, books, food,
                                                    hardware, clothing, sportswear,
                                                    eyewear, footwear, headgear,
                                                    sports equipment and related
                                                    accessories


                      3,630,565      June 2, 2009   IC 025 – Footwear

                                                    IC 025 - Footwear; head wear;
                      3,630,846      June 2, 2009
                                                    rainwear; scarves; ski wear; socks

                                                    IC 025 - Footwear; gloves;
                                                    headgear, namely, hats, caps,
                                                    headbands, visors, ear muffs;
                      3,630,850      June 2, 2009   hosiery, namely long underwear;
                                                    jackets; mittens; pants; parkas;
                                                    shirts; shorts; ski jackets; skirts;
                                                    socks; tights; vests


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                              SCHEDULE “C”
                           TBL LICENSING LLC’s
                    FEDERALLY REGISTERED TRADEMARKS

                     Registration
      Trademark                     Registration Date         Class(es)/Goods
                      Number

                                                        IC 025 - Footwear, namely
                      1,075,061      October 11, 1977   boots, work shoes, and
                                                        hiking shoes

                                                        IC 018 - Leather goods,
                                                        namely, credit card cases,
                      1,502,205      August 30, 1988
                                                        wallets, duffle bags,
                                                        backpacks and briefcases
                                                        IC 025 - Clothing, namely
                                                        coats, jackets, rainwear,
                      1,523,598      February 7, 1989   sweaters, shirts, pants, caps,
                                                        hats, gloves, scarfs, belts, t-
                                                        shirts and vests
                                                        IC 025 - Clothing, namely
                                                        coats, jackets, rainwear,
                      1,552,963       August 22, 1989   sweaters, shirts, pants, caps,
                                                        hats, gloves, scarfs, belts, t-
                                                        shirts and vests
                                                        IC 025 - Footwear; clothing,
                                                        namely coats, jackets,
                                                        rainwear, sweaters, shirts,
    TIMBERLAND        2,932,268       March 15, 2005    pants, shorts, headwear,
                                                        gloves, neckwear, belts,
                                                        sweatshirts, t-shirts, vests,
                                                        socks
                                                        IC 025 - Footwear; clothing,
                                                        namely coats, jackets,
                                                        rainwear, sweaters, shirts,
                      2,947,228        May 10, 2005     pants, shorts, headwear,
                                                        gloves, neckwear, belts,
                                                        sweatshirts, t-shirts, vests,
                                                        socks




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                              SCHEDULE “D”
                         JANSPORT APPAREL CORP.’s
                    FEDERALLY REGISTERED TRADEMARKS

                     Registration
      Trademark                     Registration Date          Class(es)/Goods
                      Number
                                                         IC 016 - Book bags
                                                         IC 018 - Brief cases and
      EASTPAK         1,524,386      February 14, 1989   luggage, back packs, day
                                                         packs, knapsacks, tote bags,
                                                         duffle bags
                                                         IC 018 - All-purpose
                                                         sporting bags, soft luggage,
                                                         luggage cases, backpacks,
                                                         day packs, knapsacks,
      EASTPAK         2,017,368     November 19, 1996
                                                         bookbags, tote bags, duffel
                                                         bags, garment bags, clothing
                                                         bags, pullman cases and
                                                         briefcases
                                                         IC 018 - All-purpose
                                                         sporting bags, soft luggage,
                                                         luggage cases, backpacks,
                                                         day packs, frame packs,
                      2,226,566      February 23, 1999   knapsacks, bookbags, tote
                                                         bags, duffle bags, fanny
                                                         packs, suitcases and
                                                         briefcases, clothing bags
                                                         and garment bags for travel




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                     Registration
      Trademark                     Registration Date        Class(es)/Goods
                      Number
                                                        IC 009 - Backpacks, bags,
                                                        briefcases, hand bags,
                                                        messenger bags, shoulder
                                                        bags and tote bags, all
                                                        specifically adapted to
                                                        carry laptops, notebook
                                                        computers, and personal
                                                        electronic devices;
                                                        Protective sleeves for
      EASTPAK         4,222,471       October 9, 2012
                                                        laptops, notebook
                                                        computers and personal
                                                        electronic devices;
                                                        Organizer pouches for
                                                        carrying computer cables,
                                                        computer mice and portable
                                                        keyboards for laptops,
                                                        notebook computers, and
                                                        personal electronic devices




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